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                  IN THE UNITED STATES DISTRICT COURT
                 FOR THE NORTHERN DISTRICT OF FLORIDA
                          GAINESVILLE DIVISION

UNITED STATES OF AMERICA

vs.                                          CASE NO.: 1:08-CR-32-SPM/AK-3

JORGE ROSELL,

              Defendant.


_____________________________/

ORDER DIRECTING COUNSEL TO SUPPLEMENT MOTION TO WITHDRAW

       This cause comes before the Court on the Motion to Withdraw as Counsel

(doc. 281) filed by Attorney Lawrence E. Besser, who was retained to represent

Defendant at the trial level, and the Defendant’s Motion to Appoint Counsel for

Appeal (doc. 282).

       Under the Criminal Justice Act, 18 U.S.C. § 3006(c), “[i]f at any stage of

the proceedings, including appeal, . . . the court finds that a person is financially

unable to pay counsel whom he had retained, it may appoint counsel as provided

[in the act].” However, before appointing counsel, Addendum Four (d)(2) of the

Eleventh Circuit Plan Under the Criminal Justice Act requires a district court to

“conduct[] an in camera review of the financial circumstances of the defendant

and of the fee arrangements between the defendant and retained counsel.” To
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this end, the local rules of the Northern District of Florida require retained

counsel to submit information regarding the fee arrangements. See N.D. Fla.

Loc. R. 11.1(G)(2). If appellate counsel is appointed for a defendant under the

Criminal Justice Act, the defendant “may [appeal] without prepayment of fees

and costs or security therefor and without filing the affidavit required by section

1915(a) of title 28.” 18 U.S.C. § 3006A(e). Accordingly, it is

       ORDERED AND ADJUDGED:

       1.     The Motion to Withdraw as Counsel (doc. 281) and Motion to

Appoint Counsel for Appeal (doc. 282) will be held under advisement.

       2.     Retained counsel shall have up to and including August 10, 2009,

to supplement the motions with the information required by N.D. Fla. Loc. R.

11.1(G)(2) and facilitate the filing of a financial affidavit demonstrating the

Defendant’s financial eligibility for appointment of counsel.

       DONE AND ORDERED this sixteenth day of July, 2009.


                                       s/ Stephan P. Mickle
                                    Stephan P. Mickle
                                    Chief United States District Judge
